                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:15-00037
                                                 )      JUDGE CAMPBELL
BOBBY DEANDRAE ROBERTSON                         )

                                         ORDER

      Pending before the Court is a Motion to Withdraw as Counsel (Docket No. 327). The Court

held a hearing on the Motion on December 10, 2015. The Motion to Withdraw as Counsel was

withdrawn.

      It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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